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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    _________________________________________
                                              )
    In re:                                    )                          Chapter 11
                                              )
                                1
    GWG HOLDINGS, INC., et al.,               )                          Case No. 22-90032 (MI)
                                              )
                          Debtors.            )                          (Jointly Administered)
                                              )
    _________________________________________ )

             THE INVESTIGATIONS COMMITTEE’S AMENDED NOTICE OF
                      ORAL EXAMINATION OF DANIEL FINE

         Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Bankruptcy Local Rule 2004-1 of the United States

Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), Jeffrey S.

Stein and Anthony R. Horton, members of the Investigations Committee (the “Investigations

Committee”) of the board of directors of GWG Holdings, Inc. (“GWGH” and, together with its

debtor affiliates in the above-captioned bankruptcy cases, the “Debtors”), hereby commands

Daniel Fine to appear for oral examination on the topics identified in the attached Exhibit A on

October 28, 2022 at 10:00 a.m. ET or such other date and time as the parties may agree. This

examination will be conducted remotely utilizing a secure web-based platform, as provided by the

court-reporting agency, will take place before a disinterested, duly qualified Notary Public or other

officer authorized by law to administer oaths, and will be recorded by stenographic means.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The location
of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N. St. Paul Street,
Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11 cases is available at
the website of the Debtors’ proposed claims and noticing agent: https://donlinrecano.com/gwg.
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       Please take further notice that the Investigations Committee reserves its rights under title

11 of the United States Code (the “Bankruptcy Code”), the Bankruptcy Rules, the Bankruptcy

Local Rules, and any applicable law regarding the subject matter of this Notice, including to

amend, supplement, and/or modify Exhibit A attached hereto, in accordance with the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and other applicable law.



                                                 KATTEN MUCHIN ROSENMAN LLP
 Dated: October 18, 2022
                                            By: /s/ Steven Reisman
                                                 Steven J. Reisman (admitted pro hac vice)
                                                 Cindi M. Giglio (admitted pro hac vice)
                                                 Marc B. Roitman (admitted pro hac vice)
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                                                         cgiglio@katten.com
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                                                 -and-

                                                 Daniel Barnowski (admitted pro hac vice)
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                                                 Email: dan.barnowski@katten.com

                                                 -and-

                                                 Geoffrey M. King (admitted pro hac vice)
                                                 525 W. Monroe Street
                                                 Chicago, IL 60661
                                                 Email: geoff.king@katten.com

                                                 Counsel to Jeffrey S. Stein and Anthony R. Horton,
                                                 in their capacity as members of the Investigations
                                                 Committee of the Board of Directors of GWG
                                                 Holdings, Inc.
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                             CERTIFICATE OF CONFERENCE

        Pursuant to Bankruptcy Local Rule 2004-1, I hereby certify that counsel for the
Investigations Committee and counsel for Daniel Fine conferred on the Investigations
Committee’s requests for oral examination substantially in the form reflected in this Rule 2004
Notice of Oral Examination on September 19, 2022, September 22, 2022, October 17, 2022, and
October 18, 2022.


                                                      /s/ Daniel Barnowski
                                                      Daniel Barnowski




                                 CERTIFICATE OF SERVICE

        I hereby certify that, on October 18, 2022, I caused a true and correct copy of the foregoing
to be served via email through the Court’s Electronic Case Filing System on the parties that have
consented to such service.


                                                      /s/ Steven Reisman
                                                      Steven J. Reisman




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                                            EXHIBIT A

                                          DEFINITIONS

        The following definitions of terms apply to all of the Topics of Examination. Unless

otherwise defined herein, all words and phrases used herein shall be accorded their usual meaning

and shall be interpreted in their common, ordinary sense.

   1.      “Affiliate” or “Affiliates” has the meaning given to the term “Affiliate” under 11

U.S.C. § 101(2).

   2.      “Any,” “each,” “and,” and “or,” shall denote the use of the singular and plural forms.

   3.      “Assets” means both real assets and intangible assets, including real property,

intellectual property, good will, contracts, obligations, guarantees, liens, inventory, debt or equity

securities, debt instruments, cash, and cash equivalents.

   4.      “Bankruptcy Court” refers to the United States Bankruptcy Court for the Southern

District of Texas, Houston Division.

   5.      “BEN” or “Ben” means The Beneficent Company Group, L.P., Beneficient

Management LLC, Beneficient Holdings, Inc., Beneficient Management Partners LP, their

subsidiaries, Affiliates, and any associated trusts, including the ExAlt Trusts, and/or any of their

past or present employees, attorneys, officers, directors, managers, members, advisors, agents,

representatives, Professionals, and all other persons acting or claiming to act on their behalf.

   6.      “Board” means the board of directors of GWG Holdings, Inc., including any individual

member, group, or subcommittee thereunder, with the responsibility of, among other things,

governing the Debtors (as defined herein) or overseeing the activities and operations of the

Debtors.




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   7.        “Chapter 11 Cases” means the jointly administered chapter 11 cases pending before

the United States Bankruptcy Court for the Southern District of Texas, Houston Division,

captioned In re GWG Holdings Inc., Case No. 22-90032 (MI).

   8.       “Concerning” means discussing, commenting on, referring to, relating to, regarding,

constituting, comprising, containing, evidencing, setting forth, showing, disclosing, describing,

explaining, summarizing, reflecting, mentioning, or in any way logically or factually connected

with the matter discussed.

   9.       “Debtors” means GWG Holdings, Inc. and its affiliated debtors and debtors-in-

possession identified in the jointly administered Chapter 11 Cases, and/or any of their past or

present employees, attorneys, officers, directors, managers, members, advisors, agents,

representatives, Professionals, and all other persons acting or claiming to act on their behalf.

   10.      “GWG” means GWG Holdings Inc., its subsidiaries and Affiliates, all Debtors, and/or

any of their past or present employees, attorneys, officers, directors, managers, members, advisors,

agents, representatives, Professionals, and all other persons acting or claiming to act on their

behalf.

   11.       “Person” means any natural person or any legal entity, including, without limitation,

any business or governmental entity or association.

   12.      “Petition Date” means April 20, 2022.

   13.      “Professional” means any Person or entity engaged to provide, or involved in

providing, professional services of any kind at any time, including, without limitation, any

attorneys, consultants, advisors, and testifying or non-testifying experts.

   14.      “Special Committee” refers to the subcommittee as a whole, or any of the individual

members, of the GWG Holdings, Inc. Board to which you were appointed on September 8, 2020.




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    15.        “You” or “Your” shall mean Daniel Fine.

                                          INSTRUCTIONS

          1.      The preceding Definitions apply to these Instructions and each of the succeeding

Topics of Examination.

          2.      Unless specifically stated otherwise, the time period for these Topics of

Examination is August 1, 2020 – March 31, 2021.

          3.      The use of the present tense includes the past tense, the use of the past tense shall

include the present tense, and the use of any verb in any tense shall be construed as including the

use of that verb in all other tenses.

          4.      Words and phrases not defined shall have their ordinary and plain meaning within

the context of the Federal Rules of Civil Procedure and in accordance with the generally accepted

meaning accorded such words and phrases in everyday use in the English language.

          5.      Where You object to any Topic of Examination, the objection shall state all grounds

for objection. Notwithstanding any objections, You shall nonetheless comply fully with the other

parts of the Topic of Examination not the subject of any objection.

          6.      The Investigations Committee reserves the right to request additional topics of

examination as needed, provided, further, that they expressly reserve their rights to supplement or

amend the Topics of Examination.

                                    TOPICS OF EXAMINATION

    1.         Your membership on the Board.

    2.         Your work as a member of the Board, including any analysis of any proposed

transactions involving GWG.

    3.         Your resignation from the Board.

    4.         Your membership on the Special Committee.


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   5.     Your work as a member of the Special Committee, including any analysis of any

proposed transactions involving GWG.




                                           KATTEN MUCHIN ROSENMAN LLP
 Dated: October 18, 2022
                                       By: /s/ Steven Reisman
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                                           Counsel to Jeffrey S. Stein and Anthony R. Horton,
                                           in their capacity as members of the Investigations
                                           Committee of the Board of Directors of GWG
                                           Holdings, Inc.




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